        Case 1:18-cr-00602-WHP Document 71 Filed 03/23/20 Page 1 of 3



                           ROGER BENNET ADLER, P.C.
                             COUNSELOR AT LAW
233 BROADWAY-STE 2340                                             TEL. (212) 406-0181
NEW YORK, N.Y. 10279                                              FAX (212) 233-3801

                                                        March 23rd, 2020
Via ECF
Hon. William H. Pauley
U.S. District Court, S.D.N.Y.
c/o United States Courthouse
500 Pearl Street
New York, NY 10007

              Re: United States v. Michael Cohen (Rule 35)
                  (18-cr-602 [W.H.P.])
                  (18-cr-852 [W.H.P.])

Dear Judge Pauley:

      I write in response to the Government's March 23rd letter responding to mine of
March 17th, which noted the spread of the coronavirus across New York State, the
metropolitan region, and soon across the country. Assistant U.S. Attorney McKay's
response was lawyer-like, skilled and not aligned with the views expressed
by President Trump, as reflected in the attached news article.

        New York State is currently in a medical emergency, as is the nation. The
attached news article reflects that Main Justice, and the President, recognize the current
risk of serious illness, and potential death to which Bureau of Prisons inmates are
exposed, raising serious and deep concerns. I see no recognition of these aspects of the
illness anywhere in the Government's submission. Indeed, it is my understanding that
the Otisville Camp does not have ready access to hand sanitizer for its inmates to avoid
contracting the coronavirus.

         The coronavirus has overwhelmed our nation. It has raised a significant public
health concern, which has turned our economic existence into a disaster, and required
the reformulation of even small gatherings. None of us can go out to eat at a restaurant,
see a movie, or get a haircut. None of these known changes driven by the disease which
is killing thousands is voiced in Mr. McKay’s submissive.

      My understanding is that S.D.N.Y. Judges met late last week in order to both
address, and discuss, the impact of the coronavirus. It being a private meeting, I will not
speculate concerning what views were shared, and what action individual judges
decided to take as a consequence thereof. Nonetheless, the existence of the meeting, and
that which was shared at the meeting, I urge the Court to take notice of it in determining
where the equities lie.
         Case 1:18-cr-00602-WHP Document 71 Filed 03/23/20 Page 2 of 3



       I plead guilty to a lack of ready access to documents providing a greater nexus
between the coronavirus and a need to appropriately explore available legal remedies. I
am out of my office by gubernatorial order, and do not know when I will next be able to
return. We do know, however, that your S.D.N.Y. colleagues are considering the impact
of the virus and related decisions are now being made.

       The issue was raised in the context of a sentence modification - not a sought
durational reduction. The seriousness of the coronavirus requires more light, less heat,
and the need to recognize Eighth Amendment implications, and the powers emanating
from Sentencing Guideline Section 1B 1.13 (compassionate release for extraordinary and
compelling reasons). Indeed, your colleague, Judge Nathan, has recognized the clear
and present danger of the coronavirus in United States v. Stevens.

        We request the Court to seek appropriate input from the
Federal Bureau of Prisons documenting the absence of hand sanitizer and the actual
living arrangements which Otisville Camp inmates are required to reside in. The six-foot
distancing directed by Dr. Fauci and others is simply not being followed.

      Mr. Cohen has had two hospitalizations, and a pre-existing condition of
pulmonary issues. I reiterate my belief that the coronavirus provides a basis for an
appropriate modification of the venue in which his previously imposed sentence will be
served, and that the sentence of 36 months should not end up being a capital
crime depriving my client of his life.


                                             Very truly yours,



                                            /s/Roger B. Adler_____
                                            Roger Bennet Adler
                                            Attorney for Defendant Michael D. Cohen

RBA/gr


Cc:

Via email
Assistant U.S. Attorney Thomas McKay

Via 1st Class Mail
Mr. Michael D. Cohen
Inmate # 86067-054
c/o Otisville Camp
P.O. Box 1000
Otisville, New York 10963
3/23/2020                      Trump considering releasing elderly,
                        Case 1:18-cr-00602-WHP             Document nonviolent
                                                                             71offenders
                                                                                    Filedfrom federal prisonsPage
                                                                                            03/23/20          to contain
                                                                                                                     3 ofcoronavirus
                                                                                                                            3




Trump considering releasing elderly, nonviolent
offenders from federal prisons to contain
coronavirus
by Tim Pearce | March 22, 2020 07:16 PM



President Trump is considering issuing an executive order to release elderly, nonviolent
offenders from federal prisons amid the coronavirus pandemic.

The president said he was considering the move on Sunday during a press conference on the
ﬁght to contain the coronavirus. The virus has proved to be particularly contagious in prisons
and jails where large numbers of inmates live in close proximity to each other. Rikers Island in
New York City has reported nearly 40 cases of the COVID-19 virus among guards and
prisoners.

"We're going to take a look at it. It's a bit of a problem," Trump said when asked about the
potential order, later adding, "We're talking about totally nonviolent prisoners, we are actually
looking at that, yes."

Trump began the meeting by announcing that he had activated the National Guard to bring
aid and assistance to New York and Washington and plans to approve a similar request for aid
by California soon.




https://www.washingtonexaminer.com/news/trump-considering-releasing-elderly-nonviolent-offenders-from-federal-prisons-to-combat-coronavirus-spre…   1/2
